Case 1:17-cv-11008-MLW Document 52-11 Filed 10/16/17 Page 1 of 8




          EXHIBIT 46
Case 1:17-cv-11008-MLW Document 52-11 Filed 10/16/17 Page 2 of 8
Case 1:17-cv-11008-MLW Document 52-11 Filed 10/16/17 Page 3 of 8
Case 1:17-cv-11008-MLW Document 52-11 Filed 10/16/17 Page 4 of 8
Case 1:17-cv-11008-MLW Document 52-11 Filed 10/16/17 Page 5 of 8
Case 1:17-cv-11008-MLW Document 52-11 Filed 10/16/17 Page 6 of 8
Case 1:17-cv-11008-MLW Document 52-11 Filed 10/16/17 Page 7 of 8
Case 1:17-cv-11008-MLW Document 52-11 Filed 10/16/17 Page 8 of 8
